        Case 4:11-cr-40037-SOH Document 2154                             Filed 11/05/20 Page 1 of 2 PageID #: 7967
AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                         Western District of Arkansas
         UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                    v.                                                  (For Revocation of Probation or Supervised Release)


               TAVARIS WILLIAMS
                                                                        Case No.          4:11CR40037-015
                      aka
                    “Dope”                                              USM No.           10700-010
                                                                                                     Alex Wynn
                                                                                                 Defendant’s Attorney
THE DEFENDANT:
    admitted guilt to violation of condition(s)         Standard & Special listed below        of the term of supervision.
    was found in violation of condition(s) count(s)                                 after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                                 Violation Ended

One                          Standard Condition #7 - Shall Not Use Any Controlled Substance                      June 25, 2018
Two                          Standard Condition #7 - Shall Not Use Any Controlled Substance                      April 30, 2019
Three                        Special Condition #2 – Shall Comply with Testing for Substance Abuse                June 19, 2019
Four                         Special Condition #2 – Shall Comply with Treatment for Substance Abuse              July 2, 2019
Five                         Standard Condition #2 - Shall Submit a Written Report Each Month                    December 31, 2019
Six                          Special Condition #2 – Shall Comply with Testing for Substance Abuse                January 8, 2020
Seven                        Standard Condition #7 - Shall Not Use Any Controlled Substance                      January 21, 2020
Eight                        Special Condition #2 – Shall Comply with Testing for Substance Abuse                January 27, 2020

       The defendant is sentenced as provided in pages 2 through            2       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has not violated condition(s)                            and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec.              7346                                     November 4, 2020
                                                                                            Date of Imposition of Judgment
Defendant’s Year of Birth:         1984

City and State of Defendant’s Residence:                                                          Signature of Judge
                  Texarkana, Arkansas
                                                                           Honorable Susan O. Hickey, Chief U.S. District Judge
                                                                                               Name and Title of Judge


                                                                                               November 5, 2020
                                                                                                         Date
     Case 4:11-cr-40037-SOH Document 2154                                   Filed 11/05/20 Page 2 of 2 PageID #: 7968
AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 2— Imprisonment

                                                                                                Judgment — Page   2       of   2
DEFENDANT:                TAVARIS WILLIAMS
CASE NUMBER:              4:11CR40037-015

                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :

Time Served in federal custody; no term of supervised release to follow.




        The court makes the following recommendations to the Bureau of Prisons:


        The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
              at                                      a.m.           p.m.       on                                    .
              as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on                                              .
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this judgment as follows:




        Defendant delivered on                                                       to

at                                                 with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL


                                                                            By
                                                                                          DEPUTY UNITED STATES MARSHAL
